                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                   DOCKET NO. 3:10CR104

UNITED STATES OF AMERICA                        )        FINAL ORDER AND JUDGMENT
                                                )          CONFIRMING FORFEITURE
                v.                              )
                                                )
(1) TERRY SCOTT WELCH                           )



       THIS MATTER is before the Court on Motion of the United States of America for a

Consent Order for Third Party Petition and Final Order and Judgment Confirming Forfeiture.

This Court previously entered a Consent Order and Judgment of Forfeiture (Doc. 14) and

sentenced Defendant, ordering forfeiture of an $11,221,462 money judgment and, amongst other

items, the following real property in which Defendant had an interest subject to forfeiture:

               (1) the real property at 208 Paradise Peninsula, Mooresville, North
               Carolina 28115, more particularly described in a deed recorded at
               Iredell County Register of Deeds Book 1080, Page 1500 (“the
               Paradise Peninsula Property”), which constitutes proceeds of fraud
               conspiracy and

               (2) the real property at Lot 5 of Clipper’s Run Subdivision in
               Iredell County, North Carolina, more particularly described in a
               deed recorded at Iredell County Register of Deeds Book 1029,
               Page 18 (“the Clipper’s Run Property”), which constitutes
               substitute property forfeited to partially satisfy the money
               judgment (hereafter, collectively “the Real Properties”).


As detailed fully in the Government’s Motion, from June 22, 2010 through July 21, 2010, the

Government provided notice of forfeiture by publication (Doc. 31) on www.forfeiture.gov.

Furthermore, in June and July 2010, the Government provided notice of forfeiture, via Certified



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Mail, Return Receipt Requested, to Defendant’s Spouse, Amy Owens Welch, who appeared on

title to the Real Properties, and to BB&T and United Financial Mortgage Corporation, entities

that held deeds of trust.   No individuals or entities filed petitions herein. However, the

Government has proposed that this Court enter a Final Order and Judgment of Forfeiture that

recognizes Defendant’s Spouse’s partial interest in the Clipper’s Run Property and that also

allows the Government to sell the Real Properties, subject to payments to BB&T and Bank of

America (which has advised the Government that it is entitled to payment under an

Ampro/United Financial note).



        IT IS, THEREFORE, ORDERED THAT, for the reasons set forth the in the

Government’s Motion, the Motion is hereby GRANTED and the Real Properties are finally

forfeited in their entirety to the Government, subject to the following:

                (1) Defendant’s Spouse retains a 50% ownership interest in the
                Clipper’s Run Property and, subject to Defendant’s Spouse and the
                Government agreeing upon a sale, Defendant’s Spouse is entitled
                to payment for her interest upon sale of the Clipper’s Run
                Property;

                (2) Bank of America’s interest in the Paradise Peninsula Property
                is defaulted, except that, upon sale of the Paradise Peninsula
                Property, Bank of America shall be entitled to payment of the
                lesser of fifty percent of the net sale proceeds of the Paradise
                Peninsula Property or $310,030.38; and

                (3) BB&T’s interest in the Real Properties is defaulted, except to
                the extent that it is recognized in the Consent Order for Third Party
                Petition signed by the Government and BB&T and entered
                simultaneously with this Final Order and Judgment of Forfeiture.

All other interests are defaulted and the Government is authorized to pass clear title and warrant

good title to any purchaser or transferee pursuant to 21 U.S.C. § 853(n)(7), and to distribute sale


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proceeds in conformance with this Final Order and the Consent Order for Third Party Petition.



SO ORDERED.

 Signed: January 29, 2014




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